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    "Ji•      =fl                                  Opioid Total MMB by Company in Cuyahoga County, OH
                                                                                                                  CONFIDENTIAL- SUBJ ECl(JfKuPjl)t?~:.Y-6\[IVE Ol{l)ER




                               County Population      1)12,816   1,301,540    1,291,479   1,285,082   1,278,200     '1,270,461    1,266,210    1,264,622    1,262,459
                                     TotalMME

         Company Name     Market      MME             2006       2007        2008         2009        2010          2011          2012         2013         2014
                          Share




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                                                                                                             CONFlDEN'fiAL- SUBJEC1c'ffiFil6'EI4fffl'[IVE ORDER


                                              Opioid 'fotal MME by Company in Summit County, OH
                         County l'opulation       544,660     544,275      543,116     542,135     541,648        541,293     540,716      54'1,601     542,095
                               'rotalMME

Company Name        Market      MME             2006        2007         2008        2009        2010           2011        2012         2013         2014
                    Share




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